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AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                           United States District Court
                                                             District of Minnesota

            UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                         v.                                                  Case Number: 16-CR-0141(6) (PJS/FLN)
               Fredrick Demon Mosby                                          USM Number: 20707-041

                                                                             F. Clayton Tyler
                                                                             Defendant’s Attorney

THE DEFENDANT:

[X]       pleaded guilty to count: 2 of the superseding indictment.
[]        pleaded nolo contendere to counts(s) which was accepted by the court .
[]        was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

                                                                                                    Offense
Title & Section                          Nature of Offense                                          Ended                    Count
21 U.S.C. §§ 841(A)(1),                  Conspiracy to Distribute Controlled Substances             June 14, 2016            2
841(b)(1)(C) and 846

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on counts(s) .
[X]       Counts 1, 15 and 16 of the second superseding indictment are dismissed on the motion of the United States.


        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

                                                                                                      May 11, 2017
                                                                                             Date of Imposition of Judgment

                                                                                                      s/Patrick J. Schiltz
                                                                                                      Signature of Judge

                                                                                PATRICK J. SCHILTZ, United States District Judge
                                                                                            Name & Title of Judge

                                                                                                        May 12, 2017
                                                                                                           Date




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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    FREDRICK DEMON MOSBY
CASE NUMBER:                  16CR141(6)(PJS/FLN)


                                                              IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of 108 months.




[X]       The court makes the following recommendations to the Bureau of Prisons:
          That the defendant be incarcerated in or near Minnesota.
          That the defendant be permitted to participate in the Residential Drug Abuse Treatment Program.

[X]       The defendant is remanded to the custody of the United States Marshal.


[]        The defendant shall surrender to the United States Marshal for this district.
          [] at on .
          [] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          [] before on .
          [] as notified by the United States Marshal.
          [] as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                     to

a                                           , with a certified copy of this judgment.




                                                                                                     United States Marshal



                                                                                          By
                                                                                                  Deputy United States Marshal




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AO 245B (Rev. 11/16) Sheet 3 - Supervised Release
DEFENDANT:                     FREDRICK DEMON MOSBY
CASE NUMBER:                   16CR141(6)(PJS/FLN)
                                                     SUPERVISED RELEASE
          Upon release from imprisonment, you will be on supervised release for a term of 5 years.

                                                    MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          []    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
4. [X] You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. [] You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
are a student, or were convicted of a qualifying offense. (check if applicable)
6. [] You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached
page.




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AO 245B (Rev. 11/16) Sheet 3A - Supervised Release
DEFENDANT:                    FREDRICK DEMON MOSBY
CASE NUMBER:                  16CR141(6)(PJS/FLN)

                                   STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
      within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




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AO 245B (Rev. 11/16) Sheet 3D - Supervised Release
DEFENDANT:                    FREDRICK DEMON MOSBY
CASE NUMBER:                  16CR141(6)(PJS/FLN)


                                     SPECIAL CONDITIONS OF SUPERVISION

          1.        You must not use alcohol or other intoxicants, whether legal or illegal, and you must not enter
                    establishments whose primary business is the sale of alcoholic beverages.

          2.        You must participate in a program for substance abuse as approved by the probation officer. The
                    program may include testing and inpatient or outpatient treatment, counseling, or a support
                    group. You must contribute to the costs of such treatment as determined by the Probation Office
                    Co-Payment Program.

          3.        You must participate in a psychological or psychiatric counseling or treatment program, as
                    approved by the probation officer. You must contribute to the costs of this treatment as
                    determined by the Probation Office Co-Payment Program.

          4.        You must not enter a casino or have any involvement in any form of gambling, including, but not
                    limited to, on-line gambling, video gambling, charitable gambling, wagering, pull tabs, lotteries,
                    and lottery scratch-off games.

          5.        You must not associate with any member, prospect, or associate member of the 10s gang, the 20s
                    gang, the Mickey Cobras gang, the Family Mob gang, or any other gang.

          6.        You must allow a probation officer or someone designated and supervised by the probation
                    officer to search your person, residence, office, vehicle, or any area under your control. The
                    search must be based on reasonable suspicion of contraband or evidence of a supervision
                    violation, and it must be conducted at a reasonable time and in a reasonable manner. You must
                    warn any other residents or affected third parties that your residence, office, vehicle, and areas
                    under your control may be subject to searches under the conditions I have just described.

          7.        If you do not maintain full-time, lawful employment as deemed appropriate by the probation
                    officer, you may be required to do community-service work for up to 20 hours per week until
                    you become employed. You may also be required to participate in training, counseling, or daily
                    job searching as directed by the probation officer.

          The probation office is directed to furnish to you a written statement of all of the conditions of your
          supervised release.




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AO 245B (Rev. 11/16) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:                          FREDRICK DEMON MOSBY
CASE NUMBER:                        16CR141(6)(PJS/FLN)
                                                  CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                        Assessment          JVTA Assessment* Fine             Restitution
      Totals:              $100                    $0              $0             $0

[]     The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)
       will be entered after such determination.

[]     The defendant shall make restitution (including community restitution) to the following payees in the
       amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned
       payment, unless specified otherwise in the priority order or percentage payment column below. However,
       pursuant to 18 U.S.C. §3664(i), all nonfederal victims must be paid before the United States is paid.

                     Name and Address of Payee                                                  **Total Loss                    Restitution                  Priority or
                                                                                                                                 Ordered                     Percentage
  N/A




  TOTALS:                                                                                     $0.00                         $0.00                        0.00%
            Payments are to be made to the Clerk, U.S. District Court, for disbursement to the victim.

[]     Restitution amount ordered pursuant to plea agreement $.

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine
       is paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the
       payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
       §3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            [] the interest requirement is waived for the [] fine [] restitution.

            [] the interest requirement for the: [] fine [] restitution is modified as follows:


  * Justice for Victims of Trafficking Act of 2015, Pub L No 114-22
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994 but before April 23,
1996




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AO 245B (Rev. 11/16) Sheet 6 - Schedule of Payments
DEFENDANT:                     FREDRICK DEMON MOSBY
CASE NUMBER:                   16CR141(6)(PJS/FLN)

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A         []         Lump sum payment of $ due immediately, balance due

                     [] not later than , or
                     [] in accordance [] C, [] D, [] E, or [] F below; or

B         []         Payment to begin immediately (may be combined with [] C, [] D, or [] F below); or

C         []         Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g. months or years), to
                     commence (e.g. 30 or 60 days) after the date of this judgment; or

D         []         Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g. months or years), to
                     commence (e.g. 30 or 60 days ) after the release from imprisonment to a term of supervision; or

E         []         Payment during the term of supervised release will commence within (e.g. 30 or 60 days ) after release from
                     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at the
                     time; or.

F         []         Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are to be made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]        Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
          Amount, and corresponding payee, if appropriate:



[]        The defendant shall pay the cost of prosecution.


[]        The defendant shall pay the following court cost(s):


[X]       The defendant shall forfeit the defendant’s interest in the following property to the United States: All property identified in
          paragraph 9 of the plea agreement.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including costs of prosecution and court costs.




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